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       The official minutes of the University of South Carolina Board of Trustees are maintained
       by the Secretary of the Board. Certified copies of minutes may be requested by contacting
       the Board of Trustees’ Office at trustees@sc.edu. Electronic or other copies of original
       minutes are not official Board of Trustees' documents.

                                       University of South Carolina
                                        BOARD OF TRUSTEES

                                              August 8, 2014


       The University of South Carolina Board of Trustees met at noon Friday, August 8, 2014, in the

Board Room at 1600 Hampton Street.

       Members present were: Mr. Eugene P. Warr, Jr., Chairman; Mr. John C. von Lehe, Jr., Vice

Chairman; Mr. Chuck Allen; Mrs. Paula Harper Bethea; Mr. J. Egerton Burroughs; Mr. Mark W. Buyck, Jr.;

Mr. Thomas C. Cofield; Mr. A.C. “Bubba” Fennell; Dr. C. Edward Floyd; Mr. William W. Jones, Jr.; Mr.

Toney J. Lister; Mr. Miles Loadholt; Mr. Hubert F. Mobley; Ms. Leah B. Moody; Dr. C. Dorn Smith III;

Mr. Thad H. Westbrook; Mr. Mack I. Whittle, Jr.; Mr. Charles H. Williams; and Dr. Mitchell M. Zais.

Mr. William C. Hubbard was absent.

       Also present were faculty representative Dr. James H. Knapp and student representative Lindsay

Richardson.

       Others present were: President Harris Pastides; Secretary Amy E. Stone; Chief Operating Officer

Edward L. Walton; General Counsel Walter “Terry” H. Parham; Chief Financial Officer Leslie Brunelli;

Vice President for Student Affairs Dennis A. Pruitt; Vice President for Information Technology William F.

Hogue; Vice President for Human Resources Chris Byrd; Vice President for Development and Alumni

Relations Jancy Houck; Vice President for Facilities and Transportation Derrick Huggins; Athletics

Director Ray Tanner; Chief Communications Officer Wes Hickman; Associate Vice President for Business

Affairs, Division of Administration and Finance, Helen T. Zeigler; University Foundations Executive

Director Russell H. Meekins; Executive Director, Audit and Advisory Services, Pam Doran; Executive

Director, Office of Economic Engagement, William D. “Bill” Kirkland; Director of State Relations Trey

Walker; Director of Government and Community Relations and Legislative Liaison Shirley Mills;

Executive Assistant to the President for Equal Opportunity Programs Bobby D. Gist; Senior Vice Provost

and Dean of Graduate Studies Lacy Ford; Chief of Staff, President’s Office, J. Cantey Heath Jr.; Palmetto

College Chancellor Susan A. Elkins; USC Upstate Chancellor Thomas Moore; USC Aiken Chancellor

Sandra J. Jordan; Associate Vice President for Administration and Finance and Medical Business Affairs

Jeff Perkins; College of Arts and Sciences Dean Mary Anne Fitzpatrick; Deputy Athletics Director Charles


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Waddell; Executive Associate Athletics Director Kevin O’Connell; Chief Financial Officer, Athletics

Department, Jeff Tallant; Senior Associate Athletics Director, Development and Gamecock Club, Jeff

Crane; Director of Facilities Design and Construction Jeffrey D. Lamberson; Director of Academic

Programs, Provost Office, Kristia H. Finnigan; University Educational Foundation Chairman C. John

Wentzell; University Development Foundation Chairman Joseph Reynolds; General Manger of Colonial

Life Arena Lexie Boone; wife of Board member Miles Loadholt, Ann Loadholt; First Lady Patricia Moore-

Pastides; USC Alumnus Matt Fligg; University Technology Services Production Manager Matt Warthen;

and Board staff members Debra Allen and Terri Saxon.

         I.   Call to Order

              Chairman Warr called the meeting to order and stated that notice of the meeting had been

posted and the press notified as required by the Freedom of Information Act; the agenda and supporting

materials had been circulated; and a quorum was present to conduct business. Mr. Hickman introduced

Jamie Self with The State as the only member of the news media in attendance.

        II.   Welcome and Introductions

              Chairman Warr welcomed Mrs. Bethea to her first full Board meeting. He also welcomed

John Wentzell, chairman of the USC Educational Foundation, and Joe Reynolds, chairman of the USC

Development Foundation. Chairman Warr then recognized USC alumnus Matt Fligg, a retired high school

football coach whose father had coached football at USC.

       III.   Invocation

              Chairman Warr invited Father Paul Sterne, the chaplain with the University’s C.S. Lewis

Student Center and St. Theodore’s Anglican Chapel, to deliver the invocation.

       Chairman Warr stated that there was a personnel matter appropriate for Executive Session.

Chairman Warr called for a motion to enter Executive Session. Mr. Whittle so moved and Dr. Smith

seconded the motion. The vote was taken and the motion carried.

       Chairman Warr invited the following persons to remain: President Pastides, Secretary Stone, Mr.

Parham and Mr. Byrd.



Executive Session




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Return to Open Session

       IV.    Approval of Minutes

              The following six sets of minutes were presented for approval:

              A.      Called Health Affairs Committee, June 12, 2014
              B.      Intercollegiate Athletics Committee, June 13, 2014
              C.      Audit and Compliance Committee, June 13, 2014
              D.      Academic Affairs and Faculty Liaison Committee, June 13, 2014
              E.      Executive Committee, June 20, 2014
              F.      Board of Trustees, June 20, 2014

              Chairman Warr stated that the six sets of minutes stood approved as submitted with the

exception of the June 13 meeting of the Academic Affairs and Faculty Liaison Committee in which Mr.

Fennell needed to be included as being present for the meeting.

        V.    Committee Report: Executive Committee
              (The Honorable Eugene P. Warr, Jr. reported)

              A.      Personnel Matter

                      On behalf of the Executive Committee, Chairman Warr made a motion to approve

the following compensation increases for President Harris Pastides and to request that the USC

Foundations fund the increases:

                      1.     Increase President Pastides’ annual supplement from the USC Foundations to
                             $503,800

                      2.     Provide President Pastides a retention bonus paid by the USC Foundations in
                             the sum of:

                                    $100,000 on July 1, 2015, if he is employed as the University’s
                                    president on that date

                                    $100,000 on July 1, 2016, if he is employed as the University’s
                                    president on that date.

       Chairman Warr stated that the motion was made with the understanding that the president serves at

all times at the pleasure of the Board of Trustees. Mr. Allen seconded the motion. The vote was taken and

the motion carried.

              B.      Contracts

                      Chairman Warr said that during the Executive Committee’s meeting earlier in the day

four Indefinite Delivery Contracts were approved, as well as three other contracts, all of which exceeded

$250,000. The Indefinite Delivery Contracts were with GMK Associates, Inc.; Mechanical Design, Inc.;

RMF Engineering, Inc.; and Swygert & Associates, LTD. The other contracts included an amendment to

the University’s cable services contract with Campus Televideo, Inc.; a contract on behalf of the Athletics


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Department with Fund Raisers, Ltd. for specialty pavers; and a contract with AIG to provide health and

accident coverage for students registered in the University’s English Program for Internationals.

       Chairman Warr said that the Executive Committee also approved five contracts for

recommendation to the full Board for action. These were:

                      1.      Springer Agreement

                              On behalf of the Executive Committee, Chairman Warr moved approval of a

License Agreement with Springer Customer Service Center, LLC, under which the Columbia campus will

receive internet access to designated online journals for a five-year period at a total cost of $2,861,112.

       Mr. Burroughs seconded the motion. The vote was taken and the motion carried.

                      2.      Greenville Hospital System-USC School of Medicine Greenville

                              On behalf of the Executive Committee, Chairman Warr moved approval of

Addendum A to the Master Memorandum of Understanding for Cooperation of Services Exchange

between the USC School of Medicine Greenville and the Greenville Hospital System confirming the

budgeted value of professional services and non-personnel expenses to be provided by the Greenville

Hospital System for 2014-2015 in the sum not to exceed $13,459,092.

       Mr. Mobley seconded the motion. The vote was taken and the motion carried.

                      3.      McNair Foundation Gift Agreement

                              On behalf of the Executive Committee, Chairman Warr moved approval of

the First Amended and Restated Gift Agreement with The Robert and Janice McNair Foundation to

Establish the McNair Scholars Fund at the University of South Carolina. This agreement restates the

original 1998 Gift Agreement, as amended in 2007, formally renames the “McNair Finalists” as

“Horseshoe Scholars,” provides that the corpus of the McNair Foundation Funds set aside for the McNair

Scholars Program will be transferred to the USC Foundation within five years of the death of the latter of

Mr. and Mrs. McNair or, if later, when the fair market value of the Fund equals $30 million, and provides

that the McNair Foundation may review and revise the agreement every five years.

       Mrs. Bethea seconded the motion. The vote was taken and the motion carried.

                      4.      Academic Partnerships, LLC

                              On behalf of the Executive Committee, Chairman Warr moved approval of a

five-year agreement with Academic Partnerships, LLC, under which Academic Partnerships will receive the

exclusive right to convert education materials developed by the University to an online format and market

the materials internationally on behalf of the University as non-degree credit Specialization (Certificate)

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Programs. The University and Academic Partnerships will each receive 50 percent of tuition and fees

collected for Specialization Programs in which Academic Partnerships recruits students directly. For

Specialization Programs offered through a host institution, the University and Academic Partnerships will

split evenly net revenues received after deductions for fees and costs charged by the host institution.

       Mr. Westbrook seconded the motion. The vote was taken and the motion carried.

                       5.     Global Spectrum, LP

                              On behalf of the Executive Committee, Chairman Warr moved approval of an

extension of the Management Agreement between the Athletics Department and Global Spectrum for the

management of the Colonial Life Arena for a period not to exceed one year, ending June 30, 2015. During

the extension period, Global Spectrum will receive a management fee of $10,000 per month and have the

opportunity to earn incentive fees as outlined in the extension agreement.

       Mr. Fennell seconded the motion. The vote was taken and the motion carried.

        III.   Capital Campaign Update

               Chairman Warr called on Jancy Houck who provided an update on the success of the

Carolina’s Promise Capital Campaign, which as of June 30, 2014, had raised $870,855,302 toward its one

billion dollar goal. She reminded Trustees that the billion dollar club of colleges and universities is very

small. In reality, she said, there are 38 colleges and universities currently in campaigns with goals of a

billion dollars or more; 25 of which have goals of between one and two billion, and 7 of which have goals

in excess of $4 billion.

       She told Trustees that it is a good time for the University to be campaigning, as giving was up

nationally last year by 4.4 percent to $335 billion across the country. Gifts to education are accounting for

an increasingly larger share of those dollars, giving to higher education was up by 7.4 percent in 2013.

Wealth is growing to pre-recession levels, which bodes well since very large gifts are required to achieve

success at the billion dollar level, and there are now 40,000 households in the U.S. with wealth in excess of

$50 million.

       The impact on philanthropy can be seen through the raising of mega gifts of $25 million or more.

Virtually every week throughout the country, she said, there is a gift of that size or more that is announced.

She showed a chart showing the impact of large gifts on the University’s campaign on a year-by-year basis,

indicating that in 2014, the University reached $116 million without any eight-figure gifts. She said that in

the final year of the campaign when $130 million is needed to meet the University’s goal, she hoped to

have one or more eight-figure gifts to propel the campaign past the $1 billion goal.

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       Ms. Houck reported that for Fiscal Year 2014 the Development Office processed 176,695 gift

transactions from 41,396 donors, noting that the division’s 40 gift officers conducted 4,702 personal visits

with prospects. She said that of the 441 proposals of $25,000 or more that were submitted, 163 or 36

percent were funded by donors during the past year. The success rate is within the benchmark range of

successful universities, where development officers close between 30 to 40 percent of gifts for which they

ask. In the last year of the campaign, she said more donors would be visited and more gifts requested so

that in maintaining a 36 percent success rate, the University would do well.

       Since the Carolina’s Promise Campaign began, Ms. Houck said that there has been consistent

success year-to-year compared to most campaigns that average more ups and downs from year-to-year

over a multi-year campaign. As of June 30, 2014, she said the University had received gifts from more than

114,000 donors, yet 107 of those donors accounted for 53 percent of the campaign’s success.

       Ms. Houck indicated that proximity has been an important part of the campaign, indicating that the

82,552 donors are from South Carolina, 41,597 are from out-of-state, and 347 are international. She next

discussed the constituency groups that have donated to the campaign, indicating that 80,983 alumni have

donated more than $250 million. Corporate giving is down nationally and the University’s success in this

arena – donations exceeding $250 million – reflects a couple of very large gifts-in-kind.

       As of June 30, 2014, Ms. Houck said that 47 percent of all funds raised through the campaign have

been in the form of cash gifts, with the balance almost equally divided among gifts-in-kind, outstanding

pledges, planned gifts, and research. Of the money raised last year: 33 percent was for scholarships,

assistantships and fellowships; 43 percent was for research and outreach activities; while the balance was

divided among capital projects, unrestricted donations, and faculty support in the form of endowed

professorships and chairs.

       With just 11 months to go to the end of the campaign, Ms. Houck indicated that the University will

need to raise $10,763,000 per month until June 30, 2015. She encouraged Trustees to introduce potential

donors to the Development Office staff and to tell donors about the impact of their donations on student

scholarships, faculty research, and the new facilities that will make it possible for the University to

accomplish great things in educational programs.

       To put Ms. Houck’s report in perspective, Dr. Zais noted that the University had raised nearly a

half million dollars a day, five days a week, 50 weeks a year for seven years – a remarkable accomplishment,

he said offering his congratulations. Mr. Westbrook also congratulated the President for his work in

maintaining the reported level of momentum throughout the campaign.

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       IV.    Report of the University Foundations

              Chairman Warr called on Russ Meekins who made a brief report in response to a newspaper

editorial about how foundations might operate at other universities. To clarify how the USC Foundations

operate, Mr. Meekins said that they do not accept state assets or laundry money. Operations are

transparent and run with integrity. He recognized Joe Reynolds, chair of the Development Foundation,

and John Wentzell, CPA, chair of the Educational Foundation. There are about 25 board members on each

foundation watching over operations, including Trustee Mark Buyck on the Development Foundation and

Trustee Wes Jones on the Educational Foundation. The purpose of the USC Foundations is to support the

University, but that did not mean operating in less than a prudent manner. As far as transparency, the USC

Foundations believe that transparency breeds integrity. The USC Foundations’ informational tax returns

(990s) are posted on the internet, along with their audits and quarterly investment returns. Mr. Meekins

said that the only items kept confidential are contracts in negotiation and donor names when permission is

not given to release them.

       Mr. Meekins also told Trustees that about 17 years ago, the USC Foundations formed the S.C.

Higher Education Foundation Group to exchange information about best practices. The group meets

about three times a year and recently foundations representing institutions in North Carolina and Georgia

have attended the meetings.

       Mr. Meekins reported that the USC Foundations have a pooled portfolio with $392 million in it

from the Development Foundation, Educational Foundation, Alumni Association, Business Partnership

Foundation and the USC Lancaster Educational Foundation. The money is pooled to save on fees and to

achieve a coherent investment strategy. There are six volunteer alumni who form the USC Foundations’

Investment Oversight Committee. Chaired by Alan Wright, the committee is helped by Jim Barrow. Mr.

Barrow, originally from Bishopville, S.C., runs a large firm in Dallas called Barrow Hanley that manages

value equity and fixed income portfolios.

       For the third straight year, Mr. Meekins said, USC is number one in the Southeastern Conference in

investment returns. For the period ending June 30, 2014, USC Foundations had a return of 19.8 percent.

Over the past five years the USC Foundations experienced a 14.4 percent return by following the direction

of its equity-biased Investment Committee, while the highest Ivy League school’s return was Columbia

University with 8.6 percent. He noted that Harvard, which recently fired its chief investment officer, had

an average return over the past five years of 1.8 percent. The 10-year return for USC Foundations is 7.3

percent.

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       Mr. Meekins reported on the Development Foundation’s West Campus residence hall project,

which he said was progressing on schedule. He noted that the first elevated floor was scheduled to be

poured the second week of August, with the 500-bed facility scheduled to open late July 2015. A second

300-bed facility will open by July 2016.

        V.    Report of the President

              Chairman Warr called on President Pastides who thanked Trustees for another outstanding

meeting, noting that “in partnership we continue to advance.” He continued:

                      Once again, summer seems to travel at a different rate of speed
                      than the rest of the year; funny how that is, how quickly it has come
                      and gone.

                      Tomorrow we’ll enjoy another cherished commencement at our
                      University as we will graduate 1,450 new, young people that will
                      become our alumni systemwide.

                      As usual, we will have a rich offering of honorary degree recipients
                      and a phenomenal commencement speaker Mr. Leif Maseng. He is
                      one of a declining number of Americans who ensured our freedom
                      on June 6, 1944, otherwise known as D-Day. We also will be
                      honored to recognize our very own Kyle Carpenter who will be on
                      the platform – a Medal of Honor winner, marine – you’ve heard
                      about his exploits. I can’t imagine it will be anything other than a
                      standing ovation for Corporal Carpenter.

                       Some of you joined us for the Alumni Center topping off on July
                      31. What a beautiful morning it was. Thank you Paula Harper
                      Bethea for taking on the leadership of My Carolina. Of course
                      before you there was William Bethea, Bubba Fennell, Amy Stone,
                      Lee Bussell, and Eddie Brown, and now you, Paula. Carolina could
                      not have been served by a better group of alumni leaders during
                      these extraordinary years of growth for our University. I can’t wait
                      to help you, Paula, and all former alumni association presidents to
                      cut the ribbon on our new Alumni Center next fall.

                      Speaking of ribbon cuttings, on July 29 we cut the ribbon for our
                      new clinical training site of the USC School of Medicine in
                      Florence. This marks the important growth and impact of the USC
                      School of Medicine Columbia into the Pee Dee area. Our partners
                      there are the Carolinas Hospital System, McLeod Medical Center
                      and Francis Marion University.

                      And, we look forward to our Law School groundbreaking, set for
                      Friday, September 26.

                      All over campus, we’ve been busy this summer with constructing
                      and renovating. We’ll be completing the Darla Moore School of
                      Business, the Women’s Quad renovation is ending, the Greene
                      Street pedestrian safety project, and the Petigru entry plaza is
                      essentially done – you’ll be seeing that with me this afternoon. All
                      over campus, Athletics and grounds maintenance projects in
                      anticipation of the return, or onslaught, of new students.

                      Of course there will continue to be work into 2015. We will
                      continue with the ongoing renovation of the Health Sciences
                      Building, which will be the new home for the School of Journalism;

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             the renovation of Hamilton for the College of Social Work and for
             Arts & Sciences; and the Indoor Football Practice Facility and
             many, many other projects.

             We had a great summer in terms of educating. Our students
             continue to progress “On Their Time.” This summer semester we
             had 18,091 seats filled on the Columbia campus, which is a 14
             percent increase over 2013 and we will have even more next
             summer. You know, the General Assembly allowed students to
             attribute their Lottery Education Scholarship in the summer, but
             the news came out a little too late for many [to use this year] so
             next summer there will be a spike in summer attendance.

             You will be pleased to know that in terms of intellectual property as
             can be gauged by patents that are filed and new businesses that start
             up, USC is currently ranked 68 worldwide in terms of patents that
             were granted to our constituents in 2013. We were the fourth
             leading institution in the Southeastern Conference and had a higher
             ranking than great universities like Harvard and Yale.

             Our Technology Incubator drew the attention of Inc. Magazine and
             was named one of the “top three university-based incubators in the
             United States to watch.” The incubator currently supports 51 active
             companies of which 46 percent are minority owned, 80 percent of
             the companies are USC affiliated. Seven companies will be
             graduated next week.

             There is great research funding news, as well. Vice President
             [Prakash] Nagarkatti could not be here today, but our funding totals
             for FY2014 are over $230,202,847. A 4.5 percent increase over
             FY2013. Federal grants – their highest ever – at $150 million.
             NIH grants at the highest ever at $ 43 million.

             USC Student Government President Lindsay Richardson is being
             highlighted by MSNBC as one of the great young women in
             politics, in the Women in Politics: College Edition. She was selected
             as a leader making a difference not only through key issues on
             campus, but in bridging the gender gap in politics. Help me
             congratulate Lindsay Richardson!

             Yesterday was a big day in collegiate athletics, in my opinion. The
             Division I Board passed a set of comprehensive governance
             reforms that will facilitate us and the other 65 universities in what
             are being called the five power conferences [to enact changes that]
             will allow more resources to be used to take even better care of our
             phenomenal student-athletes. It won’t fix every societal problem
             around big-time college athletics but it will help us make a giant
             step in a better direction. I couldn’t be more pleased to be part of
             the Southeastern Conference today, not only because of our athletic
             success but because I know personally that every institution in that
             conference is committed to playing the game the right way; lot of
             integrity in that conference. And, we’re just a couple of short weeks
             away from kicking off on August 28 and having us be the first
             telecast football game on the new network.

             Before then, and even more important, just nine days from now, on
             August 17, we’ll celebrate convocation. We’re going to have the best
             class of freshmen ever; I say that every year, but it is true. Fifty-four
             percent of them will be women; there are 19 sets of twins who will
             enroll in the freshman class; and one set of triplets this year. Forty-
             five states and the District of Columbia are represented by the
             freshman class, with 28 countries sending us their best and brightest.

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                      And the day after convocation, August 18, we have the First-Year
                      Reading Experience; a discussion with students about Dave Eggers’
                      book, The Circle. Mr. Eggers will be here with us that day. The Circle
                      is a futuristic look at privacy, or maybe better stated, the lack of
                      privacy. But reading this morning’s paper, I think the future isn’t
                      that far away with respect to privacy issues.

                      I look forward to being with some of you as we present the State of
                      the University on September 4 on the Horseshoe.

                      Finally, today, August 8 is the day I became president in 2008. And,
                      I am so happy to see Chairman Emeritus Herbert Adams here with
                      us today. Please stand and receive our recognition. Herbert Adams
                      was the Board Chair who offered me the job, Miles Loadholt was
                      the Vice Chair at the time and I remember that day sentimentally
                      today. So as I start my seventh year with you, I thank you Mr.
                      Chairman and the rest of the Board for your confidence in me.

                      I’m bullish about our future. We’ve got problems, as we’ve talked
                      about and we will always talk about, but I look forward to the years
                      ahead, together with you. My goal is that the next few years will be
                      the best ever in the University’s history.

       VI.     Board of Visitors Election

               Chairman Warr said that nominations for appointments to the Board of Visitors had been

received and posted on the Board Portal for review prior to the meeting. He called for a motion to elect

those nominated [Exhibit A]. Dr. Smith so moved. Mr. Jones seconded the motion. The vote was taken

and the motion carried.

      VII.     Election of Permanent Chairman

               In response to a call for nominations for the election of a permanent chair of the Board of

Trustees for the next two years, Mr. Westbrook nominated Mr. Warr and Mr. von Lehe seconded the

motion. Mr. Whittle called for nominations to be closed. Dr. Smith seconded the motion. The vote was

taken and the nominations were closed. The vote to elect Mr. Warr to two-year term as permanent chair of

the Board of Trustees was taken and passed unanimously.

     VIII.     Election of Vice Chairman

               Chairman Warr called for nominations for Vice Chairman. Dr. Smith nominated Mr. von

Lehe and Mr. Lister seconded. The nominations were closed, the vote was taken and the motion carried

unanimously.

       IX.     Election of Executive Committee Members

               Chairman Warr called for nominations of three Trustees to join the Board’s Chairman, Vice

Chairman and Chairman Emeritus as members of the Executive Committee. Mr. Loadholt nominated Mr.

Lister and Mr. Jones seconded; Mr. Buyck nominated Dr. Floyd and Mr. Allen seconded; and Mr. Mobley


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nominated Mr. Hubbard and Mr. Jones seconded. There were no further nominations and the motions to

elect Mr. Lister, Dr. Floyd and Mr. Hubbard were taken and the motions carried unanimously.

        X.    Other Matters

              Chairman Warr called on Secretary Stone for several announcements. She reminded Trustees

that as required by Board Bylaws, a copy of the Conflict of Interest Policy was provided to Board members

along with a reporting form for those who might need to submit information related to a potential conflict.

She asked that each Trustee sign the Conflict of Interest Policy Statement confirming they had received

and read the information; and return the signed statement to the Board Office.

       Secretary Stone also asked that Trustees complete a form to stipulate annual election of per diem

and mileage reimbursement. She indicated that this is a new form being used by the Board Office since

some Trustees have opted not to receive reimbursements.

       Secretary Stone noted that the 2015 Meeting Schedule had been provided and that the information

also had been placed on the Board Portal calendar. She said that the January 22-23, 2015, Board Retreat

discussed earlier in the day would be added to the calendar.

       Secretary Stone reminded everyone that the van would leave The Inn at 6:50 p.m. to transport

Trustees to the commencement dinner. And that the van would depart from The Inn at 7:45 a.m. the next

morning to take Trustees to the first of two commencement ceremonies.

       She then told Trustees that the bus was waiting for them on Hampton Street to take them for a tour

of the new Darla Moore School of Business and the newly renovated Petigru.

       XI.    Adjournment

              When there were no other matters to come before the Board, Chairman Warr declared the

meeting adjourned at 1:35 p.m.

                                                  Respectfully submitted,


                                                  Amy E. Stone
                                                  Secretary




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